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               4
                Entered on Docket
            ___________________________________________________________________
               5June 24, 2014
                     6   ALAN R. SMITH, ESQ. #1449
                         HOLLY E. ESTES, ESQ. #11797
                     7   Law Offices of Alan R. Smith
                         505 Ridge Street                                                       ELECTRONICALLY LODGED
                     8   Reno, Nevada 89501                                                        June 24, 2014
                         Telephone (775) 786-4579
                     9   Facsimile (775) 786-3066
                         Email: mail@asmithlaw.com
                 10      Attorney for Debtors
                         ANTHONY THOMAS and WENDI
                 11      THOMAS and AT EMERALD, LLC
                 12
                 13
                 14                                       UNITED STATES BANKRUPTCY COURT
                 15                                                      DISTRICT OF NEVADA
                 16                                                                —ooOoo—
                 17      In Re:                                                        Case No. BK-N-14-50333-BTB
                                                                                       Case No. BK-N-14-50331-BTB
                 18      ANTHONY THOMAS and                                            Chapter 11 Cases
                         WENDI THOMAS,
                 19                                                                    [Jointly Administered]
                 20      AT EMERALD, LLC,                                              ORDER SHORTENING TIME FOR
                                                                                       NOTICE AND HEARING ON MOTION
                 21                                                                    TO SELL ASSETS FREE AND CLEAR
                                                                                       OF LIENS
                 22
                                    Debtors.                                           Hearing Date: OST Pending
                 23      ______________________________/                               Hearing Time: OST Pending
                 24                The Court having considered the Debtors’ Ex Parte Motion For Order Shortening
                 25      Time For Notice And Hearing On Debtors’ Motion To Sell Assets Free And Clear Of Liens
                 26      And Motion To File Purchase And Sale Agreement Under Seal, and good cause appearing
                 27      therefor,
                 28      ///
  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
 (775) 786-4579          H:\AT Emerald\Mot Sell\OST MOST Mot Sell 062014-dlg.wpd
                           Case 14-50333-gs                 Doc 92        Entered 06/24/14 11:12:41    Page 2 of 2



                     1             IT IS HEREBY ORDERED that the Motion For Order Shortening Time is granted,
                     2   and the hearing to consider approval of the Motion To Sell Assets Free And Clear Of Liens
                     3   And Motion To File Purchase And Sale Agreement Under Seal shall be conducted on
                     4           July 1
                         ______________________________,          2:30   p
                                                         2014 at _________.m. Any opposition may be filed
                     5   and served upon Debtors’ attorney by facsimile, email or personal delivery no later than
                     6          June 27
                         ______________________________, 2014. Replies may be filed and served no later than
                     7     12:00 Noon, June 30
                         ____________________________, 2014. Service of this Order Shortening Time For Notice
                     8   And Hearing On Debtors’ Motion To Sell Assets Free And Clear Of Liens And Motion To
                     9   File      Purchase          And       Sale      Agreement   Under    Seal    shall   be   completed   by
                 10           June 24
                         _______________________, 2014.
                 11                IT IS SO ORDERED
                 12      PREPARED AND SUBMITTED BY:
                 13      LAW OFFICES OF ALAN R. SMITH
                 14      By:     /s/ Holly E. Estes
                           HOLLY E. ESTES, ESQ.
                 15        Attorney for Debtors
                 16                                                                ###
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